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                           UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    MARK TIGER, individually and on behalf of
    all others similarly situated,

                         Plaintiff,                   Case No. 2:23-cv-01618-NR

           v.                                         Judge J. Nicholas Ranjan

    VERIZON COMMUNICATIONS INC. and
    VERIZON PENNSYLVANIA LLC,

                        Defendants.


                              PLAINTIFF’S SUPPLEMENTAL BRIEF

          Plaintiff Mark Tiger submits this supplemental brief per the Court’s order permitting

supplemental briefing. ECF No. 49.

          I.      Mr. Tiger’s Standing Is Determined by the Facts as They Existed at the Time
                  of the Complaint.

          Verizon is mistaken when it argues that Mr. Tiger’s change in employment may both

deprive him of standing to sue and moot his claims for prospective relief. Rather, Mr. Tiger’s

standing to sue is solely determined by the facts as they existed at the time of the filing of the

complaint, and his subsequent change in employment is relevant only to the issue of mootness. 1

          “Standing and mootness are two distinct justiciability doctrines.” Hartnett v. Pennsylvania

State Educ. Ass'n, 963 F.3d 301, 306 (3d Cir. 2020). 2 “At the start of litigation, the burden rests

on the plaintiff, as the party invoking federal jurisdiction, to show its standing to sue.” Id. at 305.

“But once the plaintiff shows standing at the outset, she need not keep doing so throughout the




1
    As discussed in later sections of this brief, Mr. Tiger’s claims are not moot.
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    Unless otherwise noted, all citations omit internal citations, quotations, and alternations.
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lawsuit.” Id. “Instead, the burden shifts. If the defendant (or any party) claims that some

development has mooted the case, it bears the heavy burden of persuading the court that there is

no longer a live controversy.” Id. at 305-306. Put differently, “unlike standing, mootness is

determined at the time of the court's decision (rather than at the time the complaint is filed).”

Donald J. Trump for President, Inc. v. Boockvar, 493 F. Supp. 3d 331, 374 (W.D. Pa. 2020)

(Ranjan, J.).

       This distinction between standing and mootness matters because “sometimes a suit filed

on Monday will be able to proceed even if, because of a development on Tuesday, the suit would

have been dismissed for lack of standing if it had been filed on Wednesday.” Hartnett, 963 F.3d at

306. Verizon’s position that a plaintiff must satisfy standing requirements at every moment of the

litigation is inconsistent with that important guidance from the Third Circuit.

       Verizon’s contrary argument relies on a misreading of certain language from Arizonans for

Off. Eng. v. Arizona, 520 U.S. 43 (1997). Verizon presents the decision as holding that “[t]he

standing requirement applies throughout ‘all stages of review, not merely at the time the complaint

is filed.’” ECF 47 at 1 (quoting Arizonans for Off. Eng., 520 U.S. at 67.). But the quoted passage

from that opinion simply discussed Article III justiciability requirements (of which both standing

and mootness are a part) as a general matter. It did not collapse the distinction between standing

and mootness as Verizon suggests.




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       II.     Mr. Tiger Had Standing to Seek Abatement When He Filed the Complaint. 3

       “A risk of future injury may support standing if the threatened harm is ‘certainly

impending,’ or there is a ‘substantial risk’ that the harm will occur. Neale v. Volvo Cars of N. Am.,

LLC, 794 F.3d 353, 359 (3d Cir. 2015) (quoting Clapper v. Amnesty Int'l USA, 568 U.S. 398, 414

n.5 (2013)). “[C]ases do not uniformly require plaintiffs to demonstrate that it is literally certain

that the harms they identify will come about.” Amnesty Int'l USA, 568 U.S. at 414 n.5. Rather, a

plaintiff may proceed on a risk-based theory of injury where they allege “concrete evidence to

substantiate their fears” rather than “mere conjecture[.]” Id. at 420.

       An example illustrates the rule. Some plants, including alfalfa, reproduce through

pollination. In Monsanto Co. v. Geertson Seed Farms, a group of farmers sued the government for

allowing a type of genetically modified alfalfa to come to market because the farmers feared that

bees which had taken pollen from genetically modified plants might land on their non-genetically

modified plants and cause the resulting seed to have genetically modified characteristics.

Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 154 (2010). The farmers then backed this

theory up with specific evidence. They presented evidence that bees have a range of two to ten

miles and that the organic alfalfa farms at issue would be at least that close to genetically modified

alfalfa farms. Id. at 154 n.3. The farmers also presented evidence that to counter this threat, they




3
  Plaintiff focuses primarily on his standing to seek abatement because Verizon conceded at oral
argument that Mr. Tiger’s change of employment would not moot his claim for medical
monitoring. Oral Arg. Tr. 66:1-8. Verizon was correct to make this concession. “[A] case becomes
moot only when it is impossible for a court to grant any effectual relief whatever to the prevailing
party.” Chafin v. Chafin, 568 U.S. 165, 172 (2013). Plaintiffs are “not required to continue suffering
the exact injury described in the complaint to maintain [his or] her entitlement to seek relief.”
Freedom from Religion Found. Inc v. New Kensington Arnold Sch. Dist., 832 F.3d 469, 481 (3d
Cir. 2016). This Court remains able to remedy Mr. Tiger’s past exposure to Verizon’s toxic lead
cables through a medical monitoring program that would defray any out-of-pocket medical
expenditures necessitated by Verizon’s lead cables.
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would need to spend money to test their crops for genetically modified characteristics. Id. at 154.

This, the Supreme Court held, represented a “substantial risk” sufficient to support Article III

standing to seek prospective relief. Id. at 153.

       This permissive standard is even lower in cases which implicate human health. Standing

rules are relaxed “when the future harm involves human suffering or premature death.” Reilly v.

Ceridian Corp., 664 F.3d 38, 45 (3d Cir. 2011). And the Supreme Court has implemented this

principle by holding that plaintiffs have standing to seek prospective relief for future bodily injury

in circumstances that would be far too speculative to support federal standing outside of the context

of human health. Another example is useful. In the Price-Anderson Act, Congress imposed a

monetary ceiling on the potential tort liability of private nuclear power plants. 42 U.S.C.A. §

2210(e). Following this, in Duke Power Co. v. Carolina Env't Study Grp., Inc., a group of people

living nearby a nuclear power plant, which in the course of normal operation released small

amounts of radiation, sued to have this cap declared unconstitutional. Duke Power Co. v. Carolina

Env't Study Grp., Inc., 438 U.S. 59, 74 (1978). The Supreme Court held that such plaintiffs had

standing because “the emission of non-natural radiation into appellees' environment would also

seem a direct and present injury, given our generalized concern about exposure to radiation and

the apprehension flowing from the uncertainty about the health and genetic consequences of even

small emissions like those concededly emitted by nuclear power plants.” 4 Id.




4
 It is possible Verizon will argue that Duke Power has been implicitly overruled by subsequent
developments in standing caselaw. But the Supreme Court has cautioned against holding that its
precedents are “implicitly overruled” when they are merely “in tension with some other line of
decisions” because “the prerogative of overruling its own decisions” is held by the Supreme Court.
Mallory v. Norfolk S. Ry. Co., 600 U.S. 122, 136 (2023). And there is no tension between Duke
Power and later cases—human health issues are simply different than other forms of injury.
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       Mr. Tiger’s claim for injunctive relief in the form of abatement is as well supported (indeed,

more well supported) than the claims at issue in Geertson Seed Farms and is dramatically more

supported than the claims at issue in Duke Power. As in Geertson Seed Farms, Mr. Tiger has

alleged a clear path of contamination—lead in his workplace enters his body because he breathes

it in and touches it in the course of his work. As in Geertson Seed Farms, Mr. Tiger has backed

that theory of exposure up with evidence—a substantial body of literature, including Verizon’s

own studies, which show utility pole workers do ingest dangerous levels of lead in the course of

their work. And Mr. Tiger goes further and has alleged that he is presently suffering from lead-

related health conditions, including “mood changes, headaches, nausea, fatigue, irritability, muscle

and joint pain, and constipation.” First Amended Complaint, ECF 18, ¶ 15. That is more than

enough to show standing at the time the complaint was filed.

       III.    Mark Tiger’s Claim for Abatement is Not Moot Because It Falls Within the
               Inherently Transitory Exception to Mootness.

       “[I]n the class action context, special mootness rules apply for determining at what point

in time a named plaintiff must still have a personal stake in the litigation to continue seeking to

represent a putative class action[.]” Richardson v. Bledsoe, 829 F.3d 273, 278–79 (3d Cir. 2016).

“One such special rule is commonly referred to as the ‘relation back doctrine.’” Id. at 279. “This

doctrine permits courts to relate a would-be class representative's (now moot) claim for relief back

in time to a point at which that plaintiff still had a personal stake in the outcome of the litigation.”

Id. “[T]he relation-back doctrine may apply in Rule 23 cases where it is certain that other persons

similarly situated will continue to be subject to the challenged conduct and the claims raised are

so inherently transitory that the trial court will not have even enough time to rule on a motion for

class certification before the proposed representative's individual interest expires.” Genesis

Healthcare Corp. v. Symczyk, 569 U.S. 66, 76 (2013). “The principle applies to any situation where

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composition of the claimant population is fluid, but the population as a whole retains a continuing

live claim.” 1 Newberg and Rubenstein on Class Actions § 2:13 (6th ed.).

        “A claim is inherently transitory not only if there exists no plaintiff who could both

establish standing at the outset of litigation and retain an active stake by the time class certification

is decided, but also if it would be difficult to identify which prospective plaintiff that would be at

the time of filing.” Dunn v. Dunn, 148 F. Supp. 3d 1329, 1340 (M.D. Ala. 2015) 5 (emphasis

original). “Whether claims are inherently transitory is an inquiry that must be made with reference

to the claims of the class as a whole as opposed to any one individual claim for relief.” Amador v.

Andrews, 655 F.3d 89, 100 (2d Cir. 2011).

        Courts have interpreted the inherently transitory exception to mootness flexibly. For

example, in a putative class action on behalf of indigent people challenging a state’s practice of

suspending the driver’s licenses of those unable to pay court costs, an indigent class representative

who paid off their debts after unexpectedly receiving a financial windfall was allowed to continue

representing the putative class because it was clear a class continued to exist and inherently

uncertain whether any individual member of the class might similarly come into extra money.

Motley v. Taylor, No. 2:19-CV-478-WKW, 2021 WL 2556152, at *3 (M.D. Ala. June 22, 2021).

Similarly, a nursing home resident seeking to represent a putative class of nursing home residents

who could receive care in less restrictive home-based settings was allowed to continue representing

a putative class even after being released from his nursing home—despite the fact that “there are

certainly individuals [within the putative class’s definition] whose claims will not expire within



5
  At oral argument, Plaintiff’s counsel erroneously conflated the fact pattern of the Dunn case with
that of a different Middle District of Alabama case regarding the application of the inherently
transitory exception to mootness, Motley v. Taylor, No. 2:19-CV-478-WKW, 2021 WL 2556152,
at *3 (M.D. Ala. June 22, 2021). The Taylor case is discussed in greater depth below.


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the time it would take to litigate their claims[.]” Thorpe v. D.C., 916 F. Supp. 2d 65, 67 (D.D.C.

2013). So too, certain persons released from prison were allowed to continue representing a class

of prisoners alleging systemic sexual abuse in a prison, notwithstanding that there is a substantial

range in the length of one’s confinement in prison. Amador, 655 F.3d at 100.

       Verizon does not appear to dispute that there is uncertainty about how long any individual

utility worker will be willing to accept the health risks associated with the company’s abandoned

lead cables and remain at their job. As Verizon’s counsel observed at oral argument, “[t]here’s

employees who work at the same place for 20 years, there’s employees who work at the same place

for six years, there’s employees who work at a place for a day.” Oral Arg. Tr. 15:4-9. Rather,

Verizon’s primary argument against application of the inherently transitory exception appears to

be that in certain circumstances, utility workers may stay at their jobs for long periods of time. But

“the Supreme Court, as well as lower courts, have emphasized that whether the claim is inherently

transitory depends upon the uncertainty, not the ultimate fact, of the claim's longevity.” Taylor,

2021 WL 2556152 at *7. The possibility that a particular utility worker may stay at their job for a

longer period of time than Mr. Tiger does not alter the reality that whether any given utility worker

will stay at their job is an inherently variable question.

       That is particularly true since Mr. Tiger left his job because of his concerns regarding the

effect of continued exposure to Verizon’s lead cables on his health—a concern any potential class

representative for this matter would naturally share. Courts have long distinguished between true

voluntary separation from a position and resignation precipitated by objectively unreasonable

workplace conditions. Cf. Angeloni v. Diocese of Scranton, 135 F. App’x 510, 513 (3d Cir. 2005)

(“To find constructive discharge, a court need merely find that the employer knowingly permitted

conditions of discrimination in employment so intolerable that a reasonable person subject to them



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would resign.”). Likewise, courts have long recognized that public policy considerations permit

employees to act outside the ordinary bounds of the at-will employment relationship when

confronted with dangerous workplace conditions. Field v. Philadelphia Elec. Co., 565 A.2d 1170,

1180 (Pa. Super. Ct. 1989) (employee stated wrongful discharge claim based on termination for

reporting another employee’s exposure to radiation to regulatory agency); Wheeler v. Caterpillar

Tractor Co., 485 N.E.2d 372, 374 (Ill. 1985) (employee stated wrongful discharge claim based on

refusal to work with radioactive substances without proper safety equipment); Alam v. Reno Hilton

Corp., 819 F. Supp. 905, 910 (D. Nev. 1993) (recognizing state law public policy tortious discharge

cause of action would cover “refusing to work under unreasonably dangerous conditions”). These

considerations justify treating Mr. Tiger’s decision to leave his job differently than the Court might

otherwise treat an employee’s decision to leave their job. It is unreasonable to ask a putative class

plaintiff to choose between endangering his own health and foregoing his ability to seek relief for

a class of people who continue to be injured by another’s misconduct. Verizon cites no case in

which a court has imposed such a requirement on a putative class representative.

       Indeed, Verizon’s counsel recognized at oral argument that the reasoning that “[i]t would

be unfair to say that [opposing counsel’s] client has to decide that he's going to continue to be

exposed to the toxins in order to stay in the suit” was a “compelling argument[.]” Oral Arg. Tr.

66:1-4. Verizon’s counterargument was to insist that such a change in jobs would still eliminate

Mr. Tiger’s standing to sue. Oral Arg. Tr. 66:9-17. But as discussed above, “sometimes a suit filed

on Monday will be able to proceed even if, because of a development on Tuesday, the suit would

have been dismissed for lack of standing if it had been filed on Wednesday.” Hartnett, 963 F.3d at

306. Verizon errs by mixing the issues of standing and mootness.




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       “One of the central advantages of the class action device is its ability to preserve transitory

claims for judicial review.” 1 Newberg and Rubenstein on Class Actions § 2:13 (6th ed.). Mr.

Tiger’s change of jobs does not deprive the Court of the authority to grant relief to the continuing

class of utility pole workers exposed to toxic chemicals as a result of Verizon’s misconduct. Rather,

this case fits comfortably within the exception for inherently transitory claims. Verizon’s motion

to dismiss should be denied. In the event the Court dismisses any portion of Mr. Tiger’s complaint,

Mr. Tiger requests leave to amend.


Dated: November 14, 2024                           Respectfully submitted,

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